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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO



FRIENDS OF ANIMALS                                        Civil Action No. 18-cv-1544-WYD

Petitioner,

v.

UNITED STATES FISH AND WILDLIFE SERVICE, ET AL.,

Respondents.




                                          NOTICE


       Pursuant to the Court’s January 17, 2019 Order, ECF 23, the United States of America

hereby provides notice that appropriations were restored effective 10 p.m. January 25, 2019.

Department of Justice attorneys resumed usual civil functions on Monday, January 28, 2019. The

undersigned Department of Justice attorney files this notice today because she was on scheduled

leave on January 28, 2018. The United States is taking steps to comply with provision 6 of the

Settlement Agreement.



DATED: January 29, 2019

                                                   Respectfully submitted,

                                                   JEAN E. WILLIAMS,
                                                   Deputy Assistant Attorney General
                                                   SETH M. BARSKY, Chief
                                                   MEREDITH L. FLAX, Assistant Chief
                                                   RICKEY D. TURNER, JR., Trial Attorney
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                                                     /s/ Mary Hollingsworth
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                                                     Attorneys for Federal Respondents




                                CERTIFICATE OF SERVICE

       I hereby certify that today I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system, which will send notification of such to the attorneys of record.

/s/ Mary Hollingsworth
MARY HOLLINGSWORTH
